      Case: 1:17-cv-00375 Document #: 1 Filed: 01/17/17 Page 1 of 12 PageID #:1




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                                                          Judge Joan B. Gottschall
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       Case: 1:17-cv-00375 Document #: 1 Filed: 01/17/17 Page 2 of 12 PageID #:1



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Case: 1:17-cv-00375 Document #: 1 Filed: 01/17/17 Page 3 of 12 PageID #:1




            Plaintiff(s):

            A.        Name:

            B.       List all aliases:

         C.          Prisoneridentificationnumber:
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                  Place ofEmplolment:

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                 Case: 1:17-cv-00375 Document #: 1 Filed: 01/17/17 Page 4 of 12 PageID #:1
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 Case: 1:17-cv-00375 Document #: 1 Filed: 01/17/17 Page 5 of 12 PageID #:1




   Et        List ltLLl'".:Yo        (and your co-plaintiffs, if any) have
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             court in the Unitcdl'1u
                                  States:
            A.        Name ofcase and docket number:



            B.        Approximgte {66 6f fiting   tawsuit          Al   a   ,   e_


            c.        List allplaintiffs (ifyou had co-praintifr), including
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                                                                                            -No    n   -

        D.         Listall defendants: N nr,,        e



        E.        courtin whiohthe lawsuitwasfilcd (iffederal
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                  name the county):

        F.        Name ofjudgc to whom case        wis assigned:        hlo. e
        G.       Basic ctaim    maaq_-No*        e   _


        H:       Diqposition ofthis case (for exanrple: Was
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Case: 1:17-cv-00375 Document #: 1 Filed: 01/17/17 Page 6 of 12 PageID #:1




  Iv.   Statement of Claim:

         state here as briefly as possible the
                                               facts of your case. Describe how
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Case: 1:17-cv-00375 Document #: 1 Filed: 01/17/17 Page 7 of 12 PageID #:1




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  Case: 1:17-cv-00375 Document #: 1 Filed: 01/17/17 Page 9 of 12 PageID #:1




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Case: 1:17-cv-00375 Document #: 1 Filed: 01/17/17 Page 12 of 12 PageID #:1




 v.     Relief:

       State briefly ev,a$ what you want the court to do for you. Make no legal
                                                                                arguments. Cite
       no cases or statutes.


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       The plaintiffdemands that the case be tried by   a   jrry.   E/ res      trNo
                                                        CERTIFICATION

                            By signing this Complain! I cerri$, tbat the facts statod in this
                            complaint are tnre to the best of my knowredgg information and
                            belief. I rmderstand that if this certification is not correct, I may be
                            subject to sanctions by the Court.

                            Signedthis Gn^,. u^y dal        of--{--, r|h




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